Case 4:20-cr-00276-GKF Document 108-3 Filed in USDC ND/OK on 04/26/21 Page 1 of 3

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA

Plaintiff,
VS. Case Number: 20-CR-00276-GKF
SHANNON JAMES KEPLER
Defendant.
EXHIBIT LIST FOR TRIAL

SUBMITTED BY ATTORNEY: Ross Lenhardt, Sean Taylor
PARTY REPRESENTED: Plaintiff

Obj Adm Description
Recording of 911 call

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Ofr

Y
2 ve u“ Transcript of 911 call
3 v — Facebook screenshots
4 Y“ “ Tulsa Police Department record re: Jeremey Lake #1
5 “~ uw Tulsa Police Department record re: Jeremey Lake #2
6 Yv ee Tulsa Police Department record re: Jeremey Lake #3
im “ uv Tulsa Police Department record re: Jeremey Lake #4
8 Yo i Tulsa Police Department record re: Jeremey Lake #5
9 uv uM Tulsa Police Department record re: Jeremey Lake #6
10 “ Le Tulsa Police Department record re: Jeremey Lake #7
1] ve we Tulsa Police Department record re: Jeremey Lake #8
[2 Yv V Tulsa Police Department record re: Jeremey Lake #9
13 ~ Tulsa Police Department record re: Jeremey Lake #10
14 ~ - Photo of Street Signs
6 Vv VY Photo of Lake Body #1
16 x Yo Photo of Lake Body #2
17 Vv Yo Photo of Lake Body #3
18 Mo Yv Photo of Lake Body #4

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19 Y Y Photo of Lake Body #5

20 | Photo of Lake Body #6

21 Photo of Lake Body #7

22 Photo of Porch #1

23 Photo of Porch #2

24 | Photo of Porch #3

25 Photo of Porch #4

26 Photo of Porch #5

2] Photo of Porch #6

28 Scene Diagram (Michael Hamilton)
29 Scene Diagram (Lisa Kepler)
30 Scene Diagram (Josh Mills)
31 Medical Examiner Diagrams
32 Tulsa Police Department Equipment Issue Sheet
33 Photo of Revolver #1

34 Photo of Revolver #2

35 Photo of Revolver #3

36 Photo of Revolver #4

37 Photo of Revolver #5

38 Photo of Kepler Home #1

39 Photo of Kepler Home #2

40 Photo of Kepler Home #3

4] Photo of Kepler Home #4
42 Photo of Kepler Home #5

43 Photo of SUV #1

44 Photo of SUV #2

45 Photo of SUV #3

46 Photo of SUV #4

47 Photo of SUV #5

48 Photo of SUV #6

49 Photo of SUV #7

50 Photo of SUV #8

51 q Photo of SUV #9

52 VV Photo of SUV #10

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3 oy Photo of SUV #11
54 Photo of SUV #12
a5 Photo of SUV #13
56 Photo of SUV #14
57 Photo of SUV #15
58 Photo of SUV #16
39 Photo of SUV #17
60 Photo of SUV #18
61 Photo of SUV #19
62 Arrest and Booking sheet of Jeremey Lake from Kepler residence
63 David L. Moss Intake Screening Form
64 David L. Moss Intake Health Screening
65 David L. Moss Intake Mental Health Screening
66 David L. Moss Mental Health Initial Evaluation
67 Walgreens records
68 Kepler’s Tribal Citizenship
69 Map of MCN Boundary
70 Map of Shooting Location, Motel 6, and Kepler residence
Map of Shooting Location, Motel 6, and Kepler residence w/ Fire
71 Stations, Hospitals, and Police Stations
2 Photo of Michael Hamilton #1
73 Photo of Michael Hamilton #2
74 S&W.357 Revolver
75 Ammunition and Casings from S&W .357 Revolver
76 Knit Hat
77 Graff Diagrams
78 Stipulation re: Richard O’Carroll’s Testimony
79 Stipulation re: Kepler’s Indian Status
80. \ VY. Stipulation re: Indian Country
81 Photos of Jimenez
82 — Tulsa Laboratory Report
83 Lt }—_ Forensic Laboratory Discovery Packet

SY -“ Photo of insicle Kepler house

Submit to Courtroom Deputy (Do NOT File)

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